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Attorne S for Defendant
ALLIA CE WHOLESALERS, INC.
DBA PRODECO TECHNOLOGIES

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

PEDEGO, LLC, a Delaware Limited
Liability Company,

Plaintiff,
vs.

ALLIANCE WHOLESALERS, INC.
DBA PRODECO TECHNOLOGIES,
a Florida Corporation,

Defendant.

 

 

10710.00002/137417.1

CASE NO. SACV12-01106 CJC (JPRX)

DEFENDANT’S EVIDENTIARY
OBJECTIONS TO AND REQUESTS
TO STRIKE PORTIONS OF
DECLARATION OF DON
DICOSTANZO

Date: S§pternber 17, 2012
Courtroom:

Time: 1:30 p.m.

Before Hon. Cormac J. Carney

Trial Date: None Set

 

DEFENDANT’S EVIDENTIARY OBJECTIONS TO DECLARATION OF DON DlCOSTANZO

 

Case 8

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12-cV-01106-C.]C-.]PR Document 15 Filed 09/10/12 Page 2 of 10 Page |D #:246

Defendant Alliance Wholesalers, Inc. dba Prodeco Technologies hereby
objects to and moves to strike portions of the Declaration of Don DiCostanZo dated
September 4, 2012.

The following format is used below:

(1) the Declaration is copied verbatim;

(2) where Defendant objects to all or a portion of a paragraph, the objected-to
portion is shown as stricken (e.g., fllhe-persen-tolel-me-that ...) followed by a
highlighted “objection number” (e.g., [Obj. 2]); and

(3) the paragraph in the Declaration with the stricken language is followed by
a table (or boX) containing (a) the “objection number” for the objected-to portion,
(b) the page and line reference in the Declaration for the objected-to portion, (c) the
ground(s) upon which Defendant objects and moves to strike the objected-to
portion, and (d) for the Court’s convenience, two boxes with headings

“Sustained/Stricken” and “Overruled” for marking by the Court.

DATED: September § , 2012 KINSELLA WEITZMAN ISER
KUMP & ALDISERT LLP

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§}Lmifer J. M,cGrath

ttorneys for Defendant
ALLIANCE WHOLESALERS, INC. DBA
PRC)DECO TECHNOLOGIES

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DEFENDANT’S EVIDENTIARY OBJECTIONS TO DECLARATION OF DON DlCOSTANZO

 

 

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DECLARATION OF DON DICOSTANZO DATED SEPTEMBER 4, 2012
WITH OBJECTIONABLE PORTIONS STRICKEN

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DEFENDANT’S EVIDENTIARY OBJECTIONS TO DECLARATION OF DON DICOSTANZO

 

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DECLARATION OF DON DICOSTANZO

1, Don DiCostanZo, declare:

1. 1 am the President of plaintiff PEDEGO, LLC (“Pedego”) in the above
captioned action. 1 have personal knowledge of the facts set forth herein except as
to matters based on my position and the records of Pedego upon which 1 state are on
information and belief. If called as a witness, 1 would competently testify to the
same.

2. 1nterbike is an annual tradeshow for bicycles and the biking industry. 1t
is the largest bicycle tradeshow event in North America and has significant public
exposure. The next event, 1nterbike 2012, is set to take place in Las Vegas, Nevada
on September 19-21, 2012.

3. Pedego is an annual exhibitor at the 1nterbike tradeshow. Pedego
attended 1nterbike 2011 in September 2011. 1nterbike 2011 was the first time 1 saw
Alliance Wholesalers, 1nc. DBA PRODECO TECHNOLOGIES (“Prodeco”) at the

tradeshow.

4. Prior to September 2011, l-unders%ee€l-Pre€leee-te-be-a-neW-eom-pa-ny
t-h&t-had-a-hm+teel-pubhep¥esenee- [Obj. 1]

   

    
 

1 11 4 at 227-3 (a) Lack of Foundation |:l Sustained/Stricken
(Fed.R.Evid. 602); (b) l:l Overruled
1rrelevant (Fed.R.Evid. 401
and 402); (c) Lack of
Personal Knowledge

(Fed.R.Evid. 602).

 

 

 

 

  

 

 

5. 1n about May 2011 1 became aware of Prodeco’s trademark application

at the U.S. Patent and Trademark Off1ce for PRODECO TECHNOLOGY. 1n

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DEFENDANT’S EVIDENTIARY OBJECTIONS TO DECLARATION OF DON DICOSTANZO

 

 

Case 8

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response, 1 submitted a Letter of Protest to the USPTO, identifying Pedego’s U.S.
Trademark Registration No. 3,770,790. A true and correct copy of the Letter of
Protest and the registration is attached hereto as Exhibit A and Exhibit B,
respectively.

6. On or about December 12, 2011, Prodeco allowed the PRODECO
trademark application to abandon. Attached hereto as Exhibit C is a true and correct
copy of the notice of abandonment At that time 1 believed that Prodeco
Technologies intended to cease its attempt to register Prodeco and move to another
trademark 1 am now informed that Prodeco in fact filed a Petition to Revive its
trademark application

7. Pedego and Prodeco have overlapping dealers in the bicycle wholesale
market. For example, New Age Cycles in Hollywood, Florida and Pedal or Not,

1nc. in Santa Monica, California have carried both parties’ products Beth

eempannies-sell-their-predecrets-oali-rie-and-at-traeles-l=iewsT [Obj. 2]

 
 
     

2 11 7 at 2123-24 (a) Lack of Personal l:l Sustained/Stricken
Knowledge (Fed.R.Evid. |:\ Overruled
602); (b) Lack of

Foundation (Fed.R.Evid.

602)

 

 

 

 

 

 

 

eenfigur&tien¢ [Obj. 3]

   

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DEFENDANT’S EVIDENTIARY OBJECTIONS TO DECLARATION OF DON DICOSTANZO

 

 

Case 8 12-cV-01106-C.]C-.]PR Document 15 Filed 09/10/12 Page 6 of 10 Page |D #:250

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(Fed.R.Evid. 602); (b)
Speculation (Fed.R.Evid.
602); (c) Lack of Personal
Knowledge (Fed.R.Evid.
602).

 

 

 

 

 

 

9. As the president of Pedego, 1 have regular contact with Pedego’s
customers and its dealers. Sinee-Deeember-ZQl-l,_I-have-beeeme-awa-re-of

    

4 11 9 at 3 :1-2 (a) Lack Of Foundation |:l Sustained/Stricken
(Fed.R.Evid. 602); (b) |:| Overruled
Speculation (Fed.R.Evid.
602); (c) Lack of Personal
Knowledge (Fed.R.Evid.
602).

 

 

 

 

  

 

 

 

 

(a) Exhibit speaks for itself |:l Sustained/Stricken
(Fed.R.Evid. 403 and 701); |:l Overruled
(b) Lack of Foundation
(Fed.R.Evid. 602); (c)

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DEFENDANT’S EVIDENTIARY OBJECTIONS TO DECLARATION OF DON DICOSTANZO

 

 

 

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Speculation (Fed.R.Evid.
602); (d) 1rrelevant
(Fed.R.Evid. 401 and 402);
(e) Lack of Personal
Knowledge (Fed.R.Evid.
602); (f) Hearsay
(Fed.R.Evid. 801); (g)
Lacks Authentication

(Fed.R.Evid. 901).

 

 

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(a) Exhibit speaks for itself

(Fed.R.Evid. 403 and 701);
(b) Lack of Foundation
(Fed.R.Evid. 602); (c)
Speculation (Fed.R.Evid.
602); (d) 1rrelevant
(Fed.R.Evid. 401 and 402);
(e) Lack of Personal
Knowledge (Fed.R.Evid.
602); (f) Hearsay
(Fed.R.Evid. 801); (g)
Lacks Authentication

(Fed.R.Evid. 901).

 

   

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DEFENDANT’S EVIDENTIARY OBJECTIONS TO DECLARATION OF DON DICOSTANZO

 

 

 

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(a) Exhibit speaks for itself
(Fed.R.Evid. 403 and 701);
(b) Lack of Foundation
(Fed.R.Evid. 602); (c)
Speculation (Fed.R.Evid.
602); (d) 1rrelevant
(Fed.R.Evid. 401 and 402);
(e) Lack of Personal
Knowledge (Fed.R.Evid.
602); (f) Hearsay
(Fed.R.Evid. 801).

  

 

 

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(a) Exhibit speaks for itself
(Fed.R.Evid. 403 and 701);
(b) Lack of Foundation
(Fed.R.Evid. 602); (c)
Speculation (Fed.R.Evid.
602); (d) 1rrelevant
(Fed.R.Evid. 401 and 402);
(e) Lack of Personal

   

 

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DEFENDANT’S EVIDENTIARY OBJECTIONS TO DECLARATION OF DON DICOSTANZO

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Knowledge (Fed.R.Evid.
602); (D Hearsay
(Fed.R.Evid. 801); (g)
Lacks Authentication

(Fed.R.Evid. 901).

 

 

14.

 

 

1n or about July 2012, 1 first became aware that Prodeco would appear

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(a) lmproper Legal Opinion
(Fed.R.Evid. 701, 704,

Nationwz'de Transport
Fincmce v. Cass
Information Systems, 1nc. ,
523 F.3d1051, 1059 (9th
Cir. 2008); (b) Lack of
Foundation (Fed.R.Evid.
602); (c) Speculation
(Fed.R.Evid. 602); (d)
1rrelevant (Fed.R.Evid. 401
and 402); (e) Lack of
Personal Knowledge

(Fed.R.Evid. 602).

 

at 1nterbike 2012 as an exhibitor. 1 have now learned, in late August, that Prodeco

also intends to act as a sponsor of the event as well. I-bel-ieVe-llreeieeels-attendanee

 

   

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DEFENDANT’S EVIDENTIARY OBJECTIONS TO DECLARATION OF DON DICOSTANZO

 

 

 

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1 declare under penalty of perjury of the laws of the United States that the

foregoing is true and correct.

Dated: September 4, 2012 /S/
Don DiCostanZo

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DEFENDANT’S EVIDENTIARY OBJECTIONS TO DECLARATION OF DON DICOSTANZO

 

